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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

Michael Pruitt,                             )
                                            )
       Plaintiff,                           )       Civil Action File No.:
                                            )
v.                                          )
                                            )
Life Line Billing Systems, LLC,             )       COMPLAINT WITH
                                            )      JURY TRIAL DEMAND
                                            )
       Defendant.                           )


                           PRELIMINARY STATEMENT

      This action for damages is based upon the Defendant’s overt and intentional,

unlawful conduct in the furtherance of its efforts to collect a consumer debt. The

Defendant’s conduct is in violation of the Fair Debt Collection Practices Act

(FDCPA), 15 U.S.C. 1692 et seq. and for violations of the Georgia Fair Business

Practices Act (GFBPA), O.C.G.A. 10-1-390 et seq.

                                      PARTIES

      1.     Plaintiff, Michael Pruitt, is a natural person who resides in Floyd

County, Georgia.

      2.     Defendant, Life Line Billing Systems, LLC, is a limited liability

company formed under the laws of the State of Delaware and registered to do

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business in Georgia. Defendant may be served with process via its registered agent,

C T Corporation System, 289 South Culver Street, Lawrenceville, GA 30046.

                              JURISDICTION AND VENUE

      3.     This Court has federal question jurisdiction over Plaintiff’s Fair Debt

Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et seq., claims pursuant to

28 U.S.C. § 1331 and 15 U.S.C. § 1692k(d). This Court has supplemental

jurisdiction over Plaintiff’s state law claims pursuant to 28 U.S.C. § 1367.

      4.     This Court has personal jurisdiction over Defendant because, inter alia,

Defendants frequently and routinely conducts business in the State of Georgia,

including the conduct complained of herein.

      5.     Pursuant to 28 U.S.C. § 1391, venue is proper in the Northern District

of Georgia because a substantial part of the events or omissions giving rise to the

claims occurred in this district.

      6.     Pursuant to LR 3.1B(3), venue is proper in the Atlanta Division because

the Defendant maintains a registered agent in Gwinnett County which is in the

Atlanta Division.

                            FACTUAL ALLEGATIONS




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      7.    Plaintiff is allegedly obligated to pay a consumer debt arising out of a

ambulance service in 2017 and is therefore, a “consumer”, as that term is defined by

15 U.S.C. § 1692a(3).

      8.    Defendant is a collection agency specializing in the collection of

consumer debt.

      9.    Defendant uses interstate commerce and/or mail in its business in the

collection of consumer debts.

      10.   Defendant manages, and collects upon, thousands of consumer debt

accounts annually.

      11.   Defendant is, therefore, a “debt collector” as that term is defined by 15

U.S.C. § 1692a(6).

      12.   Defendant had placed negative account information on Plaintiff’s credit

report.

      13.   In August of 2020, Plaintiff called Defendant in response to the credit

reporting information.

      14.   Plaintiff is disabled and unable to work.

      15.   Plaintiff attempted to get his financial affairs in order by calling his

creditors and seeking information on the accounts so that he could prioritize

payments and attempt to regain control of his finances.

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       16.     When Plaintiff identified himself on the phone call, the Defendant’s

representative told Plaintiff the account was for an ambulance service in 2017.

       17.     During the call, Plaintiff asked Defendant how long the accounts would

stay on his credit report.

       18.     Defendant told Plaintiff the account would stay on his credit report until

it was paid off.

       19.     Credit reporting by the Defendant is governed by the Fair Credit

Reporting Act, 15 U.S.C. § 1681 et seq. (the FCRA).

       20.      The FCRA mandates that consumer credit information may be

reported for only seven (7) years from the date of first delinquency. 15 U.S.C. §

1681c(a)(4).

       21.     Defendant’s statement that Plaintiff would have to pay the full balance

of the account for the account to be deleted from Plaintiff’s credit report was a false,

deceptive, and misleading communication which implied that the account would

stay longer than the seven years allowed by the FCRA.

       22.     Defendant’s statement was a threat to report credit information longer

than the seven years allowed by the FCRA.

       23.     Plaintiff suffered anxiety and worry that the debt would stay on his

credit report until he paid it off.

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       24.      During the phone call, Plaintiff advised Defendant that he could not

receive phone calls between 8:30 a.m. and 5:00 p.m. because he was taking

medication and would be under the influence of the medication during that time

period.

       25.      Plaintiff did seek to bar the Defendant from calling him at any hour

otherwise permitted by law; for example, between 5:00 p.m. and 9:00 p.m.

       26.      Defendant received his request and told Plaintiff to “just ignore” the

phone calls he would receive because Defendant used an automatic dialer and could

not honor his request to not receive phone calls

       27.      Defendant’s statement that it was unable to honor Plaintiff’s request to

not receive phone calls was a false, deceptive, and misleading communication which

implied that Defendant was going to continue phone calls to Plaintiff which

Defendant did not have the legal right to make.

       28.      Also during the phone call, Defendant stated that Plaintiff’s account

was accruing interest and would continue to accrue interest until the account was

paid in full.

       29.      Plaintiff never entered into an agreement which authorized interest on

the account.




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        30.   Defendant was attempting to collect interest fees which were not

authorized by any agreement.

        31.   Defendant’s attempt to collect unauthorized interest was a false and

misleading statement about the amount of the debt and an unconscionable attempt

to collect an amount which was not authorized.

        32.   Defendant suffered anxiety and worry that he would continue to accrue

interest on this debt and it would continue to report on his credit report until it was

paid.

        33.   Defendant sought the advice of counsel in response to these statements

by Defendant.

                                INJURIES-IN-FACT

        34.   The FDCPA provides consumers with “statutorily-created rights to be

free from ‘being subjected to false, deceptive, unfair, or unconscionable means to

collect a debt.’” McCamis v. Servis One, Inc., No. 8:16-CV-1130-T-30AEP, 2016

U.S. Dist. LEXIS 99492 (M.D. Fla. July 29, 2016); Church v. Accretive Health, Inc.,

654 Fed. Appx. 990, 2016 U.S. App. LEXIS 12414, 2016 WL 3611543 (11th Cir.

2016).

        35.   An injury-in-fact sufficient to satisfy Article III standing requirements

“may exist solely by virtue of statutes creating legal rights, the invasion of which

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creates standing.” Church, at 993, quoting Havens Realty Corp. v. Coleman, 455

U.S. 363, 373, 102 S. Ct. 1114, 71 L. Ed. 2d 214 (1982).

      36.    Violation of statutory rights are not a “hypothetical or uncertain” injury,

but one “that Congress has elevated to the status of a legally cognizable injury

through the FDCPA.” McCamis, at 4, citing Church, at 3.

      37.    Defendant is subjecting Plaintiff to false, deceptive, unfair, and

unconscionable means to collect the debt.

      38.    Defendants acts and omissions caused particularized harm to the

Plaintiff in that he was suffered worry and anxiety and took time to discuss his debt

with counsel in response to the false statements.

      39.    Accordingly, through the suffering of actual damages and a violation

of Plaintiffs’ statutorily created rights under the FDCPA, Plaintiff has suffered an

injury-in-fact sufficient to establish Article III standing

                                     DAMAGES

      40.    As a result of the Defendant’s actions and/or omissions, Plaintiff has

suffered actual damages, including but not limited to the following:

      a.)    Being subjected to false, deceptive, unfair, and unconscionable debt

collection practices;




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       b.)   Uncompensated time expended away from work and/or activities of

daily living, to confer with counsel regarding the Defendant's collection efforts;

and,

       c.)   Anxiety and worry due to concerns about how long this debt would

stay on his credit report, how much interest would accrue, and that he might

receive phone calls at an inconvenient time.

                              CAUSES OF ACTION

                                      COUNT I

  VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

                              15 U.S.C. § 1692 et seq.

       41.   Plaintiff incorporates by reference paragraphs 1 through 40 as though

fully stated herein.

       Violations of 15 U.SC. § 1692c and subparts

       42.   A debt collector may not, without the prior consent of the consumer

given directly to the debt collector or the express permission of a court of competent

jurisdiction, communicate with a consumer in connection with the collection of any

debt at any unusual time or place or a time or place known or which should be known

to be inconvenient to the consumer.




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      43.    Defendant had direct and actual knowledge that the Plaintiff could not

receive calls at the stated times.

      44.    Defendant’s threat to continue calls after receiving revocation from

Plaintiff as described herein violated 15 U.S.C. § 1692c(a)(1).

Violations of 15 U.SC. § 1692e and its subparts

      45.    15 U.S.C. §•1692e specifically prohibits the use of any false, deceptive,

or misleading representations or means in connection with the collection of any debt.

      46.    The use of “or” in § 1692e means a representation violates the FDCPA

if it is false or deceptive or misleading. Bourff v. Rubin Lublin, LLC, 674 F.3d 1238,

1241 (11th Cir. 2012).

      47.    The standard in determining the nature of any such representation is

that of the “least sophisticated consumer.” Its purpose is to protect "naive

consumers" with a minimal understanding of personal finance and debt

collection. LeBlanc v. Unifund CCR Partners, 601 F.3d 1185, 1194 (11th Cir. 2010).

      48.    Moreover, the least sophisticated consumer is not to be held to the same

standard as a reasonably prudent consumer. The least sophisticated consumer,

though not unreasonable, is "ignorant" and "unthinking," "gullible," and of "below-

average sophistication or intelligence," Pinson v. JPMorgan Chase Bank, Nat'l




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Ass'n, No. 16-17107, 2019 U.S. App. LEXIS 33662, at 12-13 (11th Cir. Nov. 12,

2019), quoting Clomon v. Jackson, 988 F.2d 1314, 1318 (2d Cir. 1993)

       49.       A false representation in connection with the collection of a debt is

sufficient to violate the FDCPA, even if it is not alleged or proven to be misleading

or deceptive.

       50.       Defendant’s statement that the account would not be deleted from

Plaintiff’s credit report until the debt had been paid off was a false, deceptive, and

misleading communication made attempting to collect a debt.

       51.       Defendant’s statements were misleading about how long the account

could stay on Plaintiff’s credit report, and was also a threat to leave the account on

Plaintiff’s credit report for longer than such period as allowed by law.

       52.       Defendant’s attempts to charge interest which was not authorized on

the debt was deceptive and misleading.

       53.       Defendant’s communications were in violation of 15 U.S.C. §§ 1692e,

e(2)(A), e(5), e(8), and e(10) among others.

Violations of 15 U.SC. § 1692f and its subparts

       54.       The conduct of the Defendant as described herein was unfair and

unconscionable. It preyed upon perceived weaknesses/fear/lack of sophistication of

the Plaintiff.

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      55.    Defendant’s attempts to collect interest unauthorized by the agreement

which created the debt were unfair and unconscionable.

      56.    Defendant’s behavior violated 15 U.S.C. § 1692f and f(1).

      57.    As a result of Defendant’s violations of the FDCPA, Defendant is liable

to Plaintiffs for actual damages as described herein, statutory damages in the amount

of $1,000.00, costs of this action and reasonable attorney’s fees as determined by the

Court as mandated by 15 U.S.C. § 1692k.

                                     COUNT II

  VIOLATIONS OF THE GEORGIA FAIR BUSINESS PRACTICES ACT

                           O.C.G.A. § 10-1-390, et seq.

      58.    Plaintiff incorporates by reference paragraphs 1 through 57 as though

fully stated herein.

      59.    O.C.G.A. § 10-1-390 et seq. is commonly known as the "Fair Business

Practices Act of 1975" (the “GFBPA”).

      60.    The purpose of the GFBPA, is to protect consumers from unfair and/or

deceptive practices in the conduct of any trade or commerce in part or wholly in the

state. O.C.G.A. § 10-1-391.




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      61.    O.C.G.A. § 10-1-391 directs that the GFPBA is to be interpreted and

applied liberally and in harmony with the Federal Trade Commission Act, 15 U.S.C.

§ 45(a)(1), which implements the FDCPA.

      62.    O.C.G.A. § 10-1-393(a) of the GFBPA broadly prohibits unfair and/or

deceptive business practices.

      63.    Defendant intentionally engaged in unfair and deceptive business

practices, as set forth herein, in an effort to collect a consumer debt.

      64.    Defendant’s conduct has implications for the consuming public in

general.

      65.    Defendant’s conduct negatively impacts the consumer marketplace.

      66.    Collecting a debt incurred during a consumer transaction could harm

the general consuming public if conducted via deceptive acts or practices and clearly

falls within the parameters of the GFBPA. Thus, a violation of the FDCPA

constitutes a violation of the GFBPA. See 1st Nationwide Collection Agency, Inc. v.

Werner, 288 Ga. App. 457, 459 (2007).

      67.    Upon information and belief, Defendant does not maintain a place of

business in Georgia and has no assets in Georgia, thus relieving Plaintiffs of the

Notice and Demand requirements of O.C.G.A. § 10-1-399(b).




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        68.      As a result of Defendant’s violations of O.C.G.A. § 10-1-393(a),

Plaintiff is entitled to recover general damages pursuant to O.C.G.A. § 10-1-399(a).

        69.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover exemplary damages pursuant to O.C.G.A. §

10-1-399(a).

        70.      As a result of Defendant’s intentional violations of O.C.G.A. § 10-1-

393(a), Plaintiff is entitled to recover treble damages pursuant to O.C.G.A. § 10-1-

399(c).

        71.      Plaintiff is entitled to recover reasonable attorney’s fees and expenses

of litigation pursuant to O.C.G.A. § 10-1-399(d).

                                         TRIAL BY JURY

        72.      Plaintiff is entitled to and hereby requests a trial by jury.

        WHEREFORE, Plaintiff prays that judgment be entered against Defendant

for:

a.)     Plaintiff’s actual damages;

b.)     Statutory damages pursuant to 15 U.S.C. § 1692k;

c.)     Reasonable attorney’s fees and costs pursuant to 15 U.S.C. § 1692k

d.)     General, exemplary, and treble damages pursuant to O.C.G.A. § 10-1-399(a)

        & (c);

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e.)    Reasonable attorney’s fees and costs pursuant to O.C.G.A. § 10-1-399(d);

       and

f.)    Such other and further relief as may be just and proper.

       Respectfully submitted this 10th day of September, 2020.


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